         Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 1 of 29




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                          :     CRIMINAL NO.: 21-CR-392-RCL
                                                   :
              v.                                   :
                                                   :
 ERIK SCOTT WARNER,                                :
 FELIPE ANTONIO “TONY”                             :
 MARTINEZ,                                         :
 DEREK KINNISON, and                               :
 RONALD MELE,                                      :
                                                   :
                     Defendants.                   :

                   UNITED STATES’S OMNIBUS MOTIONS IN LIMINE

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this omnibus brief in support of its motions in limine

in this case, which is scheduled for trial on October 12, 2023. For each motion herein, the United

States asks that the Court grant the requested relief or, if the Court reserves ruling, to consider the

below arguments when the relevant issues arise during trial.

   I.      Motion in Limine To Admit Certain Categories of Multimedia

        On September 22, 2023, the United States will provide its preliminary exhibit list to the

defendants and to the Court. See ECF No. 208. The United States anticipates, on this date,

identifying, and providing to the defense, certain categories of photographic and video exhibits

that it intends to offer at trial. The defendants are required to raise any objections to the proposed

exhibits at the pretrial conference on September 29, 2023. Id. The following sections describe

each category of evidence and explain why each is admissible as relevant and authentic.




                                                  1
           Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 2 of 29




          A.     Legal Framework

          “As a general rule, tangible evidence such as photographs must be properly identified or

authenticated before being admitted into evidence at trial.” United States v. Blackwell, 694 F.2d

1325, 1329 (D.C. Cir. 1982). To satisfy this requirement, “the proponent must produce evidence

sufficient to support a finding that the item is what the proponent claims it is.” Fed. R. Evid.

901(a).     Rule 901(b) provides a nonexhaustive list of examples of methods for showing

authenticity. Those include, as relevant here:

          (1) Testimony of a Witness with Knowledge. Testimony that an item is what it is claimed
          to be.
           ....
          (3) Comparison by an Expert Witness or the Trier of Fact. A comparison with an
          authenticated specimen by an expert witness or the trier of fact.
          (4) Distinctive Characteristics and the Like. The appearance, contents, substance, internal
          patterns, or other distinctive characteristics of the item, taken together with all the
          circumstances.
           ....
          (7) Evidence About Public Records. Evidence that: (A) a document was recorded or filed
          in a public office as authorized by law; or (B) a purported public record or statement is
          from the office where items of this kind are kept.
           ....
          (9) Evidence About a Process or System. Evidence describing a process or system and
          showing that it produces an accurate result.

Fed. R. Evid. 901(b).

          In making the showing necessary for admissibility, “the proponent’s ‘burden of proof’” is

“slight,” and the “ultimate resolution of the evidence’s authenticity is reserved for the jury.”

United States v. Hassanshahi, 195 F. Supp. 3d 35, 48 (D.D.C. 2016) (quoting McQueeney v.

Wilmington Tr. Co., 779 F.2d 916, 928 (3d Cir. 1985)); United States v. Safavian, 435 F. Supp. 2d

36, 38 (D.D.C. 2006). To make the requisite prima facie showing, “circumstantial evidence of

authenticity can be sufficient.” United States v. Bruner, 657 F.2d 1278, 1284 (D.C. Cir. 1981).


                                                   2
         Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 3 of 29




Such evidence need not “rule out all possibilities inconsistent with authenticity, [nor] prove beyond

any doubt that the evidence is what it purports to be.” Hassanshahi, 195 F. Supp. 3d at 48 (quoting

United States v. Pluta, 176 F.3d 43, 49 (2d Cir. 1999)). Rather, the party offering the evidence

need only “demonstrate that, as a matter of reasonable probability, possibilities of misidentification

and adulteration have been eliminated.” United States v. Celis, 608 F.3d 818, 842 (D.C. Cir. 2010)

(quoting United States v. Stewart, 104 F.3d 1377, 1383 (D.C. Cir. 1997)).

        In a previous trial arising from the January 6, 2021 riot, in which a defendant contested the

authenticity of video evidence proffered by the United States, another court in this district

described the authenticity threshold for the factfinder to consider the proffered evidence as follows:

“The question here is, therefore, whether the government’s showing regarding the open-source

videos could permit a reasonable fact-finder to find that they are, in fact, what the government

claims.” Government Exhibit A, United States v. Kyle Fitzsimons, Trial Tr. 09/27/22 (“Fitzsimons

Verdict”), at 4.

         B.        Overlapping Bases for Authentication of Multimedia

        As introduced herein, there are multiple, overlapping bases that the United States intends

to use for the authentication of photographs and videos at trial. The United States offers this

nonexclusive list of bases for authentication for the Court to consider, should the United States be

unable to enter into stipulations with the defendants in advance of trial and a defendant objects to

the authenticity of the proposed multimedia exhibits.

                   1. Authentication by a Witness with Knowledge

        To begin, any witness with knowledge of the events depicted in a photograph or video can

authenticate the evidence, including but not limited to the person who took the photograph or

video. See Fed. R. Evid. 901(b)(1). Here, that includes any person who was present for the events



                                                  3
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 4 of 29




depicted in the photograph or video and has a recollection sufficient for them to recognize the

scene depicted. See, e.g., Am. Wrecking Corp. v. Sec’y of Lab., 351 F.3d 1254, 1262 (D.C. Cir.

2003). Any individual that observed the events depicted in the photograph or video can testify

that the photograph or video appears to fairly and accurately show the events that took place. See

Fed. R. Evid. 901(b)(1); see also United States v. Rembert, 863 F.2d 1023, 1026 (D.C. Cir. 1988).

       Even a person who was not present for a specific event can circumstantially establish the

authenticity of a photograph or video depicting that event if they can (1) identify the location(s)

depicted in the video; and (2) establish that the video is generally consistent with their knowledge

of events that occurred at that location. See, e.g., Rembert, 863 F. 2d at 1028 (“Even if direct

testimony as to foundation matters is absent . . . the contents of a photograph itself, together with

such other circumstantial or indirect evidence as bears upon the issue, may serve to explain and

authenticate a photograph sufficiently to justify its admission into evidence.” (alteration in

original) (quoting United States v. Stearns, 550 F.2d 1167, 1171 (9th Cir. 1977) (Kennedy, J.)));

United States v. Holmquist, 36 F.3d 154, 169 (1st Cir. 1994) (“A photograph’s contents, buttressed

by indirect or circumstantial evidence, can form a sufficient basis for authentication even without

the testimony of the photographer or some other person who was present at the time it was taken.”).

On this authority, the United States could authenticate riot footage through, for example, the

testimony of an experienced U.S. Capitol Police officer who is familiar with the areas of the

Capitol depicted in the footage and who knows that the events of January 6 are unique in modern

history. Cf. Safavian, 435 F. Supp. 2d at 40–42 (authenticating emails based on “distinctive

characteristics” and citing Fed. R. Evid. 901(b)(4)); Klayman v. Judicial Watch, 299 F. Supp. 3d

141, 145–46 (D.D.C. 2018) (admitting emails and advertisements by comparing later versions with

admitted versions). Again, this is a low bar that requires only a prima facie showing that the



                                                 4
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 5 of 29




evidence is what the United States purports it to be—namely, photographs and videos of the

Capitol siege in progress.

               2. Authentication by Metadata

       Where necessary, the United States can also authenticate the specific time or place of a

photograph or video using metadata. When a digital media file is extracted from a device or

otherwise seized by the government, it often contains metadata that specifies the time, and

sometimes the place, the file was created, along with other information. At trial, the United States

will sometimes call law enforcement personnel to testify about the process of extracting data from

digital devices and reviewing the extracted materials. Such testimony is sufficient to make a prima

facie showing that a photograph or video was made at the time or place reflected in the metadata.

See, e.g., United States v. Banks, 43 F.4th 912, 918 (8th Cir. 2022) (“While the officers were not

present when the images and videos were first captured, their testimony [about reviewing

extraction reports] provided a rational basis to believe that the exhibits had been created within the

relevant time frame and stored on [the defendant’s] cellular phones.”); Lorraine v. Markel Am. Ins.

Co., 241 F.R.D. 534, 547–48 (D. Md. 2007) (“Because metadata shows the date, time and identity

of the creator of an electronic record, as well as all changes made to it, metadata is a distinctive

characteristic of all electronic evidence that can be used to authenticate it under Rule 901(b)(4).”);

United States v. Gilbreath, No. 3:19-CR-127-TAV-HBG, 2020 WL 5441226, at *3 (E.D. Tenn.

Sept. 10, 2020) (“Metadata . . . showed that these images were created at defendant’s home and on

defendant’s cell phone on September 12, 2015.”).

               3. Authentication by Comparison

       Similarly and alternatively, in instances where precision of time and place is relevant but

cannot be established by a witness with knowledge or by the media’s metadata, the United States



                                                  5
            Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 6 of 29




will authenticate exhibits by reference to other, already-authenticated exhibits depicting the same

time and place. This method of “[a]uthentication by comparison is routine.” Valve Corp. v.

Ironburg Inventions Ltd., 8 F.4th 1364, 1371 (Fed. Cir. 2021); see also United States v. Hoyt, 946

F.2d 127, at *1 (D.C. Cir. 1991) (unpublished) (noting that Fed. R. Evid. 901(b)(3) permits

authentication by comparison); Stearns, 550 F.2d at 1171 (finding that the first picture

“authenticates the other four pictures as to time”); Safavian, 435 F. Supp. 2d at 40 (allowing

authentication of emails by means of comparison with other “e-mails that already have been

independently authenticated”). Judge Contreras, in the Fitzsimons trial, held that the United States

had adequately authenticated eight videos by showing that they were consistent with other videos,

including body-worn camera video and closed-circuit video, which had been introduced into

evidence through other means. Government Exhibit A, Fitzsimons Verdict, at 5–6.

                  4. Authentication Based on a Process or System that Produces an Accurate
                     Result

           Certain multimedia, such as security cameras (CCTV) operated by the U.S. Capitol Police

(USCP) and body-worn cameras (BWC) worn by officers of the Metropolitan Police Department

(MPD) can be authenticated by “describing a process or system and showing that it produces an

accurate result,” Fed. R. Evid 901(b)(9). See United States v. Dale, 991 F.2d 819, 843 (D.C. Cir.

1993) (“Tapes may be authenticated by testimony describing the process or system that created

the tape.”); United States v. Pinke, 614 F. App’x 651, 653 (4th Cir. 2015) (unpublished) (finding

“sufficient evidence of authentication” of a prison’s closed circuit video where “a Government

witness explained the manner in which the prison’s closed circuit video system operates, the means

by which he obtained the video, and that he downloaded it onto the DVD that was played for the

jury.”).




                                                  6
           Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 7 of 29




          The United States will pursue stipulations with the defendants related to the authenticity of

USCP CCTV and MPD BWC. These stipulations have been entered into frequently in January 6-

related trials. If necessary, however, USCP and MPD witnesses are available to testify to the

reliability of the systems employed by USCP and MPD, respectively, to create and maintain these

videos.

                 5. Authentication Based on Status as an “Official Publication”

          Certain evidence in this case, such as video taken by the Senate Recording Studio, is also

“self-authenticating,” meaning it “require[s] no extrinsic evidence of authenticity in order to be

admitted.” Fed. R. Evid. 902.1 This is so because it qualifies as an “Official Publication[],”

defined as any “book, pamphlet, or other publication purporting to be issued by a public authority.”

Fed. R. Evid. 902(5). Official materials published on government websites fall into this category

and are self-authenticating under Rule 902. See Williams v. Long, 585 F. Supp. 2d 679, 685–90

(D. Md. 2008); cf. MMA Consultants 1, Inc. v. Republic of Peru, 245 F. Supp. 3d 486, 503–04

(S.D.N.Y. 2017) (Congressional transcripts); Singletary v. Howard Univ., No. 1:17-cv-01198,

2018 WL 4623569, at *4 n.1 (D.D.C., Sept. 26, 2018) (government-issued guidebook), rev’d on

other grounds, 939 F.3d 287.

          The United States Senate uses the Senate Recording Studio to contemporaneously record

Senate proceedings and distribute those recordings to the public. See https://www.senate.gov/–

floor/, last accessed Dec. 15, 2022 (publicly available archived recordings of Senate Recording

Studio). The Senate Recording Studio recorded the proceedings relating to the Electoral College

Certification on January 6, 2021, up to the point when the rioters breached the building and forced



1
 Further underscoring the multiple paths to authentication, the Senate Recording Studio footage
may also be authenticated through any of the mechanisms outlined in this motion, including Fed.
R. Evid. 901(b)(1), (3), (4), (9).
                                                   7
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 8 of 29




the proceedings into recess. See id., January 6, 2021. Subsequently, the Senate Recording Studio

recorded the Electoral College Certification proceedings after the rioters were cleared from the

Capitol Building and the session resumed. Id. During the interim, the Senate Recording Studio

captured footage of rioters who were present on the Senate floor during the recess. Id.

        C.     Categories of Multimedia To Be Offered

       The United States plans to introduce certain videos and photos recovered from the

defendants’ phones and social media accounts, as well as videos and photographs taken by third

parties such as other rioters and journalists who were present inside and outside the Capitol on

January 6. Among other ways, these materials can be authenticated through the processes

described above.

       The evidence at trial will also include video captured by law enforcement, including CCTV

and BWC footage. Like any other videos, these can be authenticated by any person with direct

knowledge of the scene depicted or with sufficient circumstantial knowledge, see Fed. R. Evid.

901(b)(1), or through metadata or comparison, see Fed. R. Evid. 901(b)(4). Alternatively, given

the automated nature of the recording devices in question, the BWC and CCTV footage can be

authenticated under Rule 901(b)(9), which allows authentication by “[e]vidence describing a

process or system and showing that it produces an accurate result.” Fed. R. Evid. 901(b)(9); see

Dale, 991 F.2d at 843; Pinke, 614 F. App’x at 653.

       The United States also anticipates introducing videos captured by the Senate Recording

Studio, which can be authenticated through any of the processes described above.




                                                8
          Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 9 of 29




   II.        Motion in Limine To Admit Certain Statutes and Records

         A.      Judicial Notice of the Federal Electoral College Certification Law

         The proceedings that took place on January 6, 2021, were mandated by, and directed under

the authority of, several constitutional and federal statutory provisions. In fact, as Vice President

Pence gaveled the Senate to Order on January 6, 2021 to proceed with the Electoral College

Certification Official Proceeding, he quoted directly from, and cited to, Title 3, United States Code,

Section 17.

         The United States requests that the Court take judicial notice of, and admit into evidence,

copies of Article II, Section 1 of the Constitution of the United States; the Twelfth Amendment;

and 3 U.S.C. §§ 15–18 relating to the Electoral College Certification Official Proceedings. It is

well established that district courts may take judicial notice of law “without plea or proof.” See

United States v. Davila-Nieves, 670 F.3d 1, 7 (1st Cir. 2012) (quoting Getty Petroleum Mktg., Inc.

v. Capital Terminal Co., 391 F.3d 312, 320 (1st Cir. 2004)). The United States makes this request

even though “no motion is required in order for the court to take judicial notice.” Moore v. Reno,

No. 00-5180, 2000 WL 1838862, at *1 (D.D.C. Nov. 14, 2000). Further, “where a federal

prosecution hinges on an interpretation or application of state law, it is the district court’s function

to explain the relevant state law to the jury.” See United States v. Fazal-Ur-Raheman-Fazal, 355

F.3d 40, 49 (1st Cir. 2004).

         B.      Admission of the Congressional Record and S. Con. Res. 1

         The Congressional proceedings on January 6, 2021, were memorialized in the

Congressional Record. The Congressional Record is a public record under Federal Rule of

Evidence 902(5). See MMA Consultants, 245 F. Supp. 3d at 503–04. The United States intends

to introduce portions of the Congressional Record at trial, including the bodies’ “concurrent



                                                   9
          Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 10 of 29




resolution to provide for the counting on January 6, 2021, of the electoral votes for President and

Vice President of the United States,” S. Con. Res. 1, 117th Cong. (2021). For the same reasons as

the Senate Recording Studios footage above, these records should be admitted as self-

authenticating.

   III.      Motion in Limine To Limit Unnecessary Discussion of Security-Related Topics

          Certain topics that could arise at trial—namely the exact locations of USCP CCTV

cameras, the protocols of the U.S. Secret Service (USSS), and law enforcement preparations for

the January 6 riot—have little to no probative value but would compromise significant security

interests if needlessly disclosed to the public. The United States does not intend to elicit testimony

on any of these topics in its case-in-chief and, therefore, cross-examination on them would be

beyond the scope of direct examination and impermissible. Fed. R. Evid. 611(b). To the extent

that any defendant seeks to argue that any of these topics are relevant and within the scope of the

direct examination, the United States requests an order under Fed. R. Evid. 403 foreclosing

unnecessary cross-examination on these topics.

          It is well-established that a district court has the discretion to limit a criminal defendant’s

presentation of evidence and cross-examination of witnesses. See Alford v. United States, 282

U.S. 687 (1931) (“The extent of cross-examination [of a witness] with respect to an appropriate

subject of inquiry is within the sound discretion of the trial court.”); United States v. Whitmore,

359 F.3d 609, 615–16 (D.C. Cir. 2004) (“The district court . . . has considerable discretion to place

reasonable limits on a criminal defendant’s presentation of evidence and cross-examination of

government witnesses.”). A court has the discretion to prohibit cross-examination that goes

beyond matters testified to on direct examination. Fed. R. Evid. 611(b). This is particularly so

when the information at issue is of a sensitive nature. See, e.g., United States v. Balistreri, 779



                                                    10
       Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 11 of 29




F.2d 1191, 1216–17 (7th Cir. 1985) (upholding district court’s decision to prohibit cross-

examination of agent about sensitive information about which that agent did not testify on direct

examination and which did not pertain to the charges in the case), overruled on other grounds,

Fowler v. Butts, 829 F.3d 788 (7th Cir. 2016).

       The Confrontation Clause guarantees only “an opportunity for effective cross-examination,

not cross-examination that is effective in whatever way, and to whatever extent, the defense might

wish.” Delaware v. Fensterer, 474 U.S. 15, 20 (1985). Even evidence that may be relevant to an

affirmative defense should be excluded until the defendant sufficiently establishes that defense

through affirmative evidence presented during his own case-in-chief. See United States v. Lin,

101 F.3d 760, 768 (D.C. Cir. 1996) (acknowledging trial court has discretion to limit cross-

examination on prejudicial matters without reasonable grounding in fact); United States v. Sampol,

636 F.2d 621, 663–64 (D.C. Cir. 1980) (holding that trial court properly limited cross-examination

of alleged CIA murder scheme until defense put forth sufficient evidence of the affirmative defense

in its case-in-chief). Preventing the defendants from exploring the topics such as the exact

positions of cameras, the camera map, U.S. Secret Service protocols, and law enforcement

preparations for January 6, will not infringe their Confrontation Clause rights. These topics

implicate national security concerns, are of marginal probative value, and any probative value can

be addressed without compromising the protective functions of government agencies.

        A.     Exact Locations of USCP Cameras

       The United States seeks an order limiting the defense from probing, during cross-

examination, the exact locations of U.S. Capitol Police surveillance cameras or from using the

maps, which show each camera’s physical location, as an exhibit at trial. The United States

produced such information to the defendants in discovery pursuant to the Highly Sensitive



                                                 11
         Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 12 of 29




designation of the Protective Order. The defendants have been able to make use of such

information in order to identify evidence and prepare for trial; however, none of the information

serves to illuminate any fact of consequence that is before the jury.

         This lack of relevance must be balanced against the national security implications at stake

here. The U.S. Capitol Police’s surveillance system serves an important and ongoing function in

protecting Congress, and therefore, national security. Furthermore, the United States represents

that the maps that show the physical location of cameras have been designated as “Security

Information” under 2 U.S.C. § 1979, which generally requires approval of the U.S. Capitol Police

Board before they may be released.

         Evidence about the exact locations of cameras, and the maps used to locate the cameras,

should be excluded in light of the ongoing security needs of Congress. Absent some concrete and

specific defense need to probe the camera’s location, there is nothing to be gained from such

questioning. A general description, and the footage from the camera itself, will make clear what

the camera recorded and what it did not. Additionally, presenting the map of all U.S. Capitol

Police cameras would risk compromising these security concerns for no additional probative value:

the map contains numerous cameras installed in parts of the Capitol that the defendants did not

visit.

         Here, the video footage itself reveals the general location and angle of the camera’s

positioning. Additional details as to the precise location of the cameras are not relevant to the

jury’s fact-finding mission. Even assuming the evidence that the United States seeks to exclude

is marginally relevant, such relevance is substantially outweighed by the danger to national

security. The Supreme Court has recognized that trial courts’ balancing should account for

concerns extrinsic to the litigation, such as “witness’ safety.” Olden v. Kentucky, 488 U.S. 227,



                                                 12
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 13 of 29




232 (1988) (quoting Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986)). Accordingly, courts

have properly balanced the sensitivity of national security-related information against the

probative value of such information to the case, excluding the evidence where its relevance is

slight. See, e.g., United States v. Marshall, 544 F. Supp. 3d 1032, 1042 (D. Mont. 2021); United

States v. Mohammed, 410 F. Supp. 2d 913, 918 (S.D. Cal. 2005); cf. United States v. Sarkissian,

841 F.2d 959, 965 (9th Cir. 1988) (endorsing balancing test in context of Classified Information

Procedures Act). If a map that revealed the location of all Capitol cameras were introduced in this

trial, or in any trial, it would become available to the general public and foreign adversaries.

Immediately, anyone could learn about the U.S. Capitol Police’s camera coverage as of January 6,

2021, and, importantly, could learn about the parts of the Capitol where cameras were not installed.

Broader presentation of evidence about camera locations could compromise national security

without adding any appreciable benefit to the determination of the truth, or the veracity or bias of

witnesses.

        B.     Secret Service Protocols

       To meet its burden of proof at trial, the United States anticipates calling a witness from the

United States Secret Service to testify that at the time of the Capitol breach, Secret Service agents

were on duty to protect Vice President Mike Pence and his two immediate family members, all of

whom were present at the Capitol. The witness will further testify about the Capitol breach’s effect

on the Secret Service’s protection of Vice President Pence and his family members. The purpose

of this testimony will be to explain, in part, the bases for enhanced security controls at the Capitol

on January 6 as well as to establish an element of the offenses charged at Counts Five and Six,




                                                 13
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 14 of 29




namely, that the Capitol and its grounds were a “restricted area” as that term is used in 18 U.S.C.

§ 1752 on January 6, 2021.2

       The very nature of the Secret Service’s role in protecting the Vice President and his family

implicates sensitive information related to that agency’s ability to protect high-ranking members

of the Executive branch and, by extension, national security. Thus, the United States seeks an

order limiting the cross-examination of the Secret Service witnesses to questioning about the

federally protected function performed by the Secret Service as testified to on direct exam, namely,

protecting the Vice President and his family. The United States further requests that such an order

preclude cross examination that would elicit information that does not directly relate to whether

the Secret Service was performing that function at the Capitol on January 6, 2021. Specifically,

cross-examination should not be permitted to extend to (1) Secret Service protocols related to the

locations where protectees or their motorcades are taken at the Capitol or other government

buildings when emergencies occur, and (2) details about the nature of Secret Service protective

details, such as the number and type of agents the Secret Service assigns to protectees. These

topics have no relevance to any issue at controversy, and even if they did, any relevance would be

substantially outweighed by the danger of prejudicing the United States’s legitimate interest in the

safety of senior government officials. See Fed. R. Evid. 403.

       Cross-examination of Secret Service witnesses about extraneous matters beyond the scope

of direct examination should be excluded as irrelevant or unduly prejudicial. Specifically, the

Secret Service’s general protocols about relocation for safety should be excluded as irrelevant

because such evidence does not tend to make a fact of consequence more or less probable. See




2
 All references to counts herein refer to the counts as set forth in the Second Superseding
Indictment. ECF No. 210.
                                                14
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 15 of 29




Fed. R. Evid. 401. Similarly, evidence of the nature of Secret Service protective details is not

relevant in this case. The disorder on January 6 interfered with the Secret Service’s duties to

protectees in this case insofar as they were required to evade the mob. The number or type of

assigned agents on a protective detail is not relevant and could not alter the probability that there

was interference with the Secret Service. None of the other elements to be proven, or available

defenses, implicates further testimony from the Secret Service.

       Even assuming the evidence to be excluded is marginally relevant, such relevance is

substantially outweighed by the danger of confusion of the issues, undue delay, and waste of time.

Broader cross-examination of Secret Service witnesses could compromise national security

without adding any appreciable benefit to the determination of the truth, or the veracity or bias of

witnesses.3




3
  If the defense believes that it is necessary to present evidence or cross-examine witnesses about
the exact locations of USCP cameras or USSS procedures, the United States requests that the Court
conduct a hearing in camera to resolve the issue. Courts have found that in camera proceedings
are appropriate in circumstances where security concerns like these are present. See United States
v. Nixon, 418 U.S. 683, 714 (1974) (affirming district court’s order for in camera inspection of
subpoenaed presidential materials); United States v. Kampiles, 609 F.2d 1233, 1248 (7th Cir. 1979)
(“It is settled that in camera . . . proceedings to evaluate bona fide Government claims regarding
national security information are proper.”); In re Taylor, 567 F.2d 1183, 1188 (2d Cir. 1977)
(finding that in camera proceedings “serve to resolve, without disclosure, the conflict between the
threatened deprivation of a party’s constitutional rights and the Government’s claim of privilege
based on the needs of public security”); United States v. Brown, 539 F.2d 467, 470 (5th Cir. 1976)
(per curiam) (“This Circuit, too, has repeatedly approved the use of in camera examinations as the
means for resolving the conflict between a defendant’s need for evidence and the government's
claim of privilege based on the needs of public security.”). At any such hearing, any opposing
defendant should be required to make a specific proffer of some relevant purpose that is not
substantially outweighed by the prejudice that disclosure would inflict on the United States’s
security interests. Cf. United States v. Willie, 941 F.2d 1384, 1393 (10th Cir. 1991) (explaining
that a “proffer of great specificity” was necessary to support admission of testimony that could
have proper or improper purposes).
                                                 15
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 16 of 29




        C.     Law Enforcement Preparations

       The United States anticipates calling witnesses at trial from various law enforcement

entities present at the United States Capitol on January 6, 2021, including witnesses from the

United States Secret Service, the United States Capitol Police, and the Metropolitan Police

Department. Law enforcement witnesses will testify to, inter alia, the events at the Capitol on

January 6, 2021, and the effect those events had on law enforcement and the proceedings taking

place within Congress that day. The purpose of this testimony will be to explain, in part, the

obstruction of the official proceeding, as relevant to the charges in Counts One and Two, and the

restricted area, as relevant to the charges in Counts Five and Six.

       The United States does not anticipate asking these law enforcement witnesses on direct

examination about their knowledge of or the adequacy of their planning regarding the riot that

would ultimately take place on January 6, 2021. Accordingly, the United States seeks an order

limiting the cross-examination of law enforcement witnesses to preclude questions related to their

knowledge of or preparations for the January 6, 2021 riot. These topics have no relevance to any

issue at controversy. See Fed R. Evid. 401; see also Government Exhibit B, United States v.

Edward Badalian, Trial Tr. 04/04/23 (“Badalian Verdict”), at 35 (“[E]ven if every single member

of law enforcement was . . . clueless . . . the record amply supports a finding that this defendant

knew what he intended to do and why he was there. Just because no one else, no one in a position

to intervene was aware of the conversations he tried to keep within a close group of confidants,

doesn’t mean they weren’t happening.”). Even if there were marginal relevance to such testimony,




                                                 16
         Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 17 of 29




any relevance would be substantially outweighed by the risk of confusing the issues. See Fed. R.

Evid. 403.

   IV.        Motion in Limine To Preclude The Defendants’ Introduction of Their Own Out-
              of-Court Statements as Inadmissible Hearsay

         A defendant’s own out-of-court statements are hearsay that cannot be admitted to prove

the truth of any matter asserted. Fed. R. Evid. 801, 802. Although the United States may offer a

defendant’s statements as statements of a party opponent, Fed. R. Evid. 801(d)(2)(A), or other

nonhearsay, a defendant has no corresponding right to admit his own statements without subjecting

himself to cross-examination.

         A.      The Rule of Completeness Cannot Circumvent the Rule Against Hearsay

         Federal Rule of Evidence 106, the “Rule of Completeness,” does not provide an end-run

around the prohibition against hearsay. That rule provides that, “[i]f a party introduces all or part

of a writing or recorded statement, an adverse party may require the introduction, at that time, of

any other part—or any other writing or recorded statement—that in fairness ought to be considered

at the same time.” Fed. R. Evid. 106. Rule 106 directs the Court to “permit such limited portions

[of a statement] to be contemporaneously introduced as will remove the distortion that otherwise

would accompany the prosecution’s evidence.” United States v. Sutton, 801 F.2d 1346, 1369 (D.C.

Cir. 1986). The rule does not “empower[] a court to admit unrelated hearsay.” United States v.

Woolbright, 831 F.2d 1390, 1395 (8th Cir. 1987). “[T]he provision of Rule 106 grounding

admission on ‘fairness’ reasonably should be interpreted to incorporate the common-law

requirements that the evidence be relevant, and be necessary to qualify or explain the already

introduced evidence allegedly taken out of context . . . . In almost all cases we think Rule 106 will

be invoked rarely and for a limited purpose.” Sutton, 801 F.2d at 1369.




                                                 17
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 18 of 29




       In this case, many of the defendants’ statements to be offered by the United States were

made in chat groups, or using social media accounts, that were active over extended periods of

time. Rule 106 does not make all statements within these groups and accounts admissible over a

hearsay objection, but only those narrow portions that are necessary to “correct a misleading

impression.” Sutton, 801 F.2d at 1368 (quoting Rule 106 advisory committee notes). By way of

analogy, Courts of Appeals have rejected the notion that “all documents contained in agglomerated

files must be admitted into evidence merely because they happen to be physically stored in the

same file.” Jamison v. Collins, 291 F.3d 380, 387 (6th Cir. 2002) (quoting United States v. Boylan,

898 F.2d 230, 257 (1st Cir. 1990)).

       Accordingly, at trial, the Court should reject any effort by any defendant to use the Rule of

Completeness as a backdoor to admit otherwise inadmissible hearsay.

        B.     Law Enforcement Testimony Cannot Circumvent the Rule Against Hearsay

       Another mechanism by which the United States anticipates that defendants may attempt to

introduce their own prior statements is through the testimony of law enforcement officers with

whom they had communications. The United States anticipates that the defendants may seek to

question law enforcement officers or agents, at least in part, to elicit self-serving statements they

made to law enforcement about their travel to Washington, D.C. Any such statements by a

defendant, if offered for the truth of the matter asserted, would be inadmissible hearsay.

       An equally defective mechanism by which a defendant might attempt to introduce his prior

statements to the jury would be to elicit lay opinion testimony from the officers or agents. As an

initial matter, such testimony would likely be irrelevant and inadmissible on that basis.

Additionally, if such opinions are predicated on self-serving statements by a defendant, the opinion

testimony is likewise inadmissible as a vehicle to admit the defendant’s hearsay. The Federal



                                                 18
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 19 of 29




Rules of Evidence allow only expert witnesses to offer opinions based on otherwise-inadmissible

evidence, Fed. R. Evid. 703, and even in that context, expert opinion testimony cannot be a

backdoor for hearsay. See Gilmore v. Palestinian Interim Self-Government Authority, 843 F.3d

958, 972 (D.C. Cir. 2016) (“The expert must form his own opinions by applying his extensive

experience and a reliable methodology to the inadmissible materials. Otherwise, the expert is

simply repeating hearsay evidence without applying any expertise whatsoever, a practice that

allows the [proponent] to circumvent the rules prohibiting hearsay”) (internal quotation marks and

alterations omitted) (quoting United States v. Mejia, 545 F.3d 179, 197 (2d Cir. 2008); DL v. D.C.,

109 F. Supp. 3d 12, 30 (D.D.C. 2015) (“An expert is entitled to rely on inadmissible evidence in

forming his or her opinion, though the expert ‘must form his or her own opinions by applying his

or her extensive experience and a reliable methodology to the inadmissible materials,’ rather than

simply ‘transmit’ the hearsay to the jury.” (alterations omitted) (quoting Mejia, 545 F.3d at 197)).

At trial, the Court should reject any effort by a defendant to admit otherwise inadmissible hearsay

indirectly through a law enforcement officer or other percipient witness.

   V.        Motion in Limine To Preclude Improper Defense Arguments

        A.      First Amendment

        The United States will move this Court to admit in its case-in-chief statements that evince

the defendants’ motive or intent, or which go to prove an element of any offense with which he is

charged. In anticipation that the defendants may seek to oppose introduction of their statements

on First Amendment grounds, or may cite the First Amendment in arguments to the jury, the United

States moves in limine to preclude the defense from eliciting evidence or arguing to the jury that

their statements and actions were protected by the First Amendment.




                                                19
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 20 of 29




                1. Admission of the Defendants’ Statements Does Not Violate the First
                   Amendment

       The United States intends to introduce several statements, made by the defendants, that

will aid the jury’s determination as to whether the United States has met the elements of the

conspiracy offense at issue and to show motive and intent. See Wisconsin v. Mitchell, 508 U.S.

476, 489 (1993) (holding that the First Amendment “does not prohibit the evidentiary use of speech

to establish the elements of a crime or to prove motive or intent”). “Evidence of a defendant’s

previous declarations or statements is commonly admitted in criminal trials subject to evidentiary

rules dealing with relevancy, reliability, and the like.” Id.

       Courts across the country, including this Court’s colleagues in January 6th cases, have

allowed evidence of the defendant’s statements for the purposes sanctioned by Mitchell. As Judge

Cooper ruled:

       Nor does the Court find any First Amendment concerns in the government’s use of
       [defendant]’s statements to show intent. . . . If Robertson had expressed his views only
       through social media, he almost certainly would not be here. But he also allegedly took
       action—entering the Capitol without lawful authority in an alleged attempt to impede the
       Electoral College vote certification. His words remain relevant to his intent and motive for
       taking those alleged actions.

United States v. Robertson, 588 F. Supp. 3d 114, 124 (D.D.C. 2022) (internal citation omitted).

Outside of the context of January 6th, Mitchell has been cited to uphold the admission of a wide

range of statements, including but not limited to rap lyrics, terrorist materials, and speeches

advocating civil disobedience. See United States v. Smith, 967 F.3d 1196, 1205 (11th Cir. 2020)

(rap lyrics); United States v. Pierce, 785 F.3d 832, 841 (2d Cir. 2015) (rap lyrics and tattoos);




                                                  20
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 21 of 29




United States v. Salameh, 152 F.3d 88, 111–12 (2d Cir. 1998) (terrorist materials); United States

v. Fullmer, 584 F.3d 132, 158 (9th Cir. 2009) (speeches advocating civil disobedience).4

       The defendants’ statements that shed light on the elements of the offenses, or motive or

intent, should be admitted in this case as expressly permitted by Mitchell, regardless of whether

any of those statements may otherwise constitute speech protected by the First Amendment.

               2. The Defendants Should Be Precluded from Raising a First Amendment
                  Defense to the Jury

       The United States also moves in limine to preclude the defendants from arguing to the jury

that their conduct was protected by the First Amendment. None of the offenses with which the

defendants are charged punish speech, as crimes such as threats or solicitation do. The crimes

with which the defendants are charged punish agreements to commit defined criminal objectives;

the corrupt obstruction, influence, or impediment of an official proceedings; actions taken during

the riot; and the conduct certain defendants took to cover up their criminal conduct.

       If the United States establishes the elements of the offenses with which the defendants are

charged, the First Amendment provides no defense, even if evidence of the defendants’ crimes is

intertwined with political discussion and rhetoric. See United States v. Amawi, 695 F.3d 457, 482

(6th Cir. 2012) (“[A]lthough the conspiracy was closely related to, and indeed proved by, many of

the defendants’ conversations about political and religious matters, the conviction was based on

an agreement to cooperate in the commission a crime, not simply to talk about it.”); see also United

States v. Hassan, 742 F.3d 104, 127–28 (4th Cir. 2014) (citing Amawi).



4
  The court in Fullmer specifically noted that one particular defendant’s conduct—which included
writing an editorial and recruiting speakers to travel and advocate on behalf of his organization—
was not criminal, and that punishing him based on that conduct alone would be unconstitutional.
Fullmer, 584 F.3d at 158. The court, nonetheless, citing Mitchell, held that this defendant’s
“conduct . . . does provide circumstantial evidence from which a jury could have reasonably
inferred that Harper was involved in a conspiracy.” Id.
                                                21
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 22 of 29




       Accordingly, any line of cross-examination or argument that the defendants may wish to

make regarding the First Amendment is irrelevant because it lacks a “tendency to make the

existence of [a] fact that is of consequence to the determination of the action more probable or less

probable than it would be without the evidence,” Fed. R. Evid. 401, and because the defendants

are not entitled to a First Amendment defense as a matter of law. To the extent there is any

relevance to any of the defendants’ First Amendment claims, the Court should exclude any

questioning and argument along those lines under Fed. R. Evid. 403. Any attempt to shift the

jury’s attention to questions about whether the defendants’ statements were protected by the First

Amendment, rather than the charged offenses, risks confusing the issues, wasting time, and

unfairly prejudicing the jury.

        B.     Charging Decisions and Selective Prosecution

       The United States moves in limine to exclude all evidence and arguments regarding its

charging decisions. The Supreme Court has recognized that the “Attorney General and United

States Attorneys retain ‘broad discretion’ to enforce the Nation’s criminal laws.” United States v.

Armstrong, 517 U.S. 456, 464 (1996) (quoting Wayte v. United States, 470 U.S. 598, 607 (1985)).

“They have this latitude because they are designated by statute as the President’s delegates to help

him discharge his constitutional responsibility to ‘take Care that the Laws be faithfully executed.’”

Id. (quoting U.S. Const. Art. II, § 3); see 28 U.S.C. §§ 516, 547. As a general matter, “so long as

the prosecutor has probable cause to believe that the accused committed an offense defined by

statute, the decision whether or not to prosecute, and what charge to file or bring before a grand

jury, generally rests entirely in his discretion.” Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978);

see also United States v. Batchelder, 442 U.S. 114, 125 (1979) (“Selectivity in the enforcement of

criminal laws is, of course, subject to constitutional constraints.”).



                                                  22
         Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 23 of 29




        Indeed, the D.C. Circuit has recognized that a selective prosecution claim implicates “an

issue of law entirely independent of the ultimate issue of whether the defendant actually committed

the crimes for which she was charged.” United States v. Washington, 705 F.2d 489, 495 (D.C.

Cir. 1983); see also United States v. Stone, 394 F.Supp.3d 1, 30 n.24 (D.D.C. 2019) (“[T]he

Supreme Court found that a claim of selective prosecution is not a ‘defense’ that triggers discovery

under Rule 16, because a claim of selective prosecution is not a response to the government’s case-

in-chief.”); Armstrong, 517 U.S. at 463 (noting that a “selective-prosecution claim is not a defense

on the merits to the criminal charge”). After all, evidence that some other individual is currently

uncharged or has been charged with a lesser crime than those charged here has no probative value

to the issues at trial and serves only to confuse the issues and mislead the jury. See Fed. R. Evid.

402, 403; see also United States v. Reed, 641 F.3d 992, 993–94 (8th Cir. 2011) (collecting cases

and observing that “[s]everal circuits have unanimously upheld the exclusion of evidence of prior

charging decisions on the ground that many factors unrelated to guilt may influence those decisions

and their admission therefore risks misleading the jury and confusing the issues”); United States

v. Sutton, No. CR 21-0598, 2022 WL 13940371, at *18 (D.D.C. Oct. 23, 2022) (“These issues are

irrelevant, inappropriate for consideration by the jury, invite jury nullification, and distract from

the issues at trial.”).

        The defendants should be precluded from introducing evidence or making arguments

regarding charging decisions made by the United States. To the extent that the defendants seek to

present evidence or arguments that other individuals have not been charged for related conduct, or

that it is unfair that they have been charged while other individuals involved in related criminal

conduct remain uncharged or charged with lesser offenses, such evidence is irrelevant,




                                                 23
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 24 of 29




inadmissible, and serves only to divert the jury’s attention to matters unrelated to the defendants’

guilt or innocence.5

        C. Entrapment-by-Estoppel or Public Authority Defenses

       The defendants should be prohibited from making arguments or attempting to introduce

evidence that law enforcement gave permission to the defendants to enter the U.S. Capitol grounds.

A public authority defense is available only where a defendant “has knowingly acted in violation

of federal criminal law, but has done so in reasonable reliance on the authorization of a

governmental official.” United States v. Alvarado, 808 F.3d 474, 484 (11th Cir. 2015). Relatedly,

the defense of entrapment by estoppel applies only “to a defendant who reasonably relies on the

assurance of a government official that specified conduct will not violate the law.” Id. at 484–85.

Such reliance must be “objectively reasonable.” United States v. Barker, 546 F.2d 940, 948 (D.C.

Cir. 1976). This defense is unavailable in this case for procedural as well as substantive reasons,

and the United States moves in limine to exclude evidence or argument targeted at such a defense.

       As a threshold matter, none of the defendants have provided the requisite notice for such a

defense. Federal Rule of Criminal Procedure 12.3(a)(1) requires a defendant to provide notice if

he “intends to assert a defense of actual or believed exercise of public authority on behalf of a law

enforcement agency or federal intelligence agency at the time of the alleged offense.” Fed. R.

Crim. P. 12.3(a)(1). Such notice must be in writing and be filed with the clerk “within the time

provided for filing a pretrial motion, or at any later time the court sets.” Id. The notice must

contain the law enforcement or federal intelligence agency involved, the specific agency member

on whose behalf the defendant claims to have acted, and the time during which the defendant


5
  The United States does not, through this motion, seek to exclude evidence of charging decisions
relating to cooperating witnesses for the limited purpose of impeaching the credibility of each
witness’s testimony.
                                                 24
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 25 of 29




claims to have acted with public authority. Fed. R. Crim. P. 12.3(a)(2)(A)–(C). A failure to

comply allows the Court to exclude the testimony of any undisclosed witness except the defendant.

Fed. R. Crim. P. 12.3(c). Because, as of the date of this filing, no defendant has served notice

pursuant to Rule 12.3(a)(1), any such defense should be precluded.6

        D. Jury Nullification

       The defendants should be prohibited from making arguments or attempting to introduce

irrelevant evidence that advocates for jury nullification or a verdict in the case based on factors

others than the defendants’ guilt or innocence. As the D.C. Circuit has made clear:

       A jury has no more “right” to find a “guilty” defendant “not guilty” than it has to find a
       “not guilty” defendant “guilty,” and the fact that the former cannot be corrected by a court,
       while the latter can be, does not create a right out of the power to misapply the law. Such
       verdicts are lawless, a denial of due process and constitute an exercise of erroneously seized
       power.

Washington, 705 F.2d at 494. Evidence that serves only to support a jury nullification argument

or verdict has no relevance to guilt or innocence. See United States v. Gorham, 523 F.2d 1088,

1097–98 (D.C. Cir. 1975); see also United States v. Funches, 135 F.3d 1405, 1409 (11th Cir. 1998)

(“No reversible error is committed when evidence, otherwise inadmissible under Rule 402 of the

Federal Rules of Evidence, is excluded, even if the evidence might have encouraged the jury to

disregard the law and to acquit the defendant.”). In particular, the Court should permit no

argument, evidence, or questioning regarding the following topics, which would serve only to

encourage jurors to decide the case based on factors other than the facts and the law.




6
 To the extent any defendant endeavors to provide notice of his intent to make such a defense, the
United States reserves the right to file a supplement to this motion in limine to address any specific
arguments raised by the defendant. Even where notice is not an issue, courts in other January 6
cases have excluded public authority or entrapment-by-estoppel defenses. See United States v.
Chrestman, 525 F. Supp. 3d 14, 32–33 (D.D.C. 2021); Memorandum and Order, United States v.
Williams, No. 21-cr-377-BAH, at *2 (D.D.C. June 8, 2022), ECF No. 87.
                                                 25
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 26 of 29




               1. Use of Federal Resources and the Volume and Timing of Discovery

       The United States requests that the defendants be precluded from arguing or eliciting

testimony regarding the volume, nature, or timing of discovery or the volume and type of federal

resources used in the investigation and prosecution of the case. Any attempt by the defendants to

comment on discovery or allocation of federal resources is irrelevant and unduly prejudicial. Fed.

R. Evid. 401, 402, 403. Instead, such arguments and testimony invite the jury to improperly

consider its feelings towards the United States and the government’s decision making about how

to allocate resources.

               2. The Defendants’ Claimed Good Character

       Character Generally.      The Court should exclude evidence and argument from any

defendant introducing reputation or opinion evidence that he is generous, charitable, family-

oriented, religious, or participates in his community. Evidence that a defendant possesses certain

favorable character traits is admissible only when the trait is “pertinent” to the offense charged.

Fed. R. Evid. 404(a)(2)(A); see, e.g., United States v. Harris, 491 F.3d 440, 447 (D.C. Cir. 2007);

United States v. Santana-Camacho, 931 F.2d 966, 967–68 (1st Cir. 1991) (Breyer, C.J.). But a

defendant may not provide evidence of possessing a generally good character. See, e.g., United

States v. Hill, 40 F.3d 164, 168 (7th Cir. 1994) (court properly excluded “classic character evidence

offered to prove that [defendant] had a good character and acted in conformity therewith”). Such

evidence only promotes jury nullification and is not allowable. See United States v. Joseph, 567

F. App’x 844, 849 (11th Cir. 2014) (“[W]hen the district court restricted defense counsel’s

comments about [defendant]’s honor and social contributions—comments that were part of his

jury nullification efforts—the court did not deny [defendant] the opportunity to make a legally

tenable argument. Instead, it kept him from making impermissible arguments.”). Because none


                                                 26
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 27 of 29




of the above characteristics are relevant to the charged offenses, the Court should exclude any

evidence and argument addressing these character traits.

       Specific Instances of Conduct. The Court should also exclude evidence and argument of

specific instances of a defendant’s good character, including caring for family members, donations,

attending religious services, performing charitable or civic work, or other forms of generosity.

Rule 405(b) makes clear that unless a defendant’s character or character trait is “an essential

element of a charge, claim, or defense,” he may not offer evidence of specific instances of good

conduct. Fed. R. Evid. 405(b). Because none of the above instances of good conduct are relevant

to an essential element of a charge, claim, or defense in this case, evidence of such should be

excluded. See United States v. Bernard, 299 F.3d 467, 476 (5th Cir. 2002) (approving court’s

instruction that jurors should not “consider the religious views of the defendants”); Santana-

Camacho, 931 F.2d at 967 (excluding evidence that defendant was a good family man and a kind

man because it was not a trait relevant to the offense); United States v. Nazzaro, 889 F.2d 1158,

1168 (1st Cir. 1989) (holding evidence of “bravery, attention to duty, perhaps community spirit”

were “hardly ‘pertinent’ to the [charged] crimes”); United States v. Morison, 622 F. Supp. 1009,

10111 (D. Md. 1985) (holding “patriotism” was not a relevant trait to the charged offense).

               3. The Defendants’ Claimed Ignorance of the Law

       The Court should exclude evidence and argument from the defendants that they were

ignorant of the illegality of the charged conduct. “The general rule that ignorance of the law or a

mistake of law is no defense to criminal prosecution is deeply rooted in the American legal

system.” Cheek v. United States, 498 U.S. 192, 199 (1991). While there is a “narrow exception,”

United States v. Brooks, 681 F.3d 678, 700 n.18 (5th Cir. 2012), that exception is “reserved . . . to

limited types of statutory violations involving ‘complex’ statutes—namely those governing federal



                                                 27
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 28 of 29




tax law and antistructuring transactions.” United States v. Kay, 513 F.3d 432, 448 (5th Cir. 2007);

see Bryan v. United States, 524 U.S. 184, 195 (1998).

       Because ignorance of the law is not a defense to any of the charged offenses, any evidence

and argument that the defendants did not know that the charged conduct was illegal should be

excluded as irrelevant, and the defendants should not be permitted to ask witnesses if they knew

their conduct was illegal or whether they intended to commit crimes.

               4. Penalties and Collateral Consequences

       The Court should exclude evidence and argument of the potential penalties or

consequences defendants face if they are convicted, including: (a) the maximum penalties; (b) that

defendants could be incarcerated; (d) that defendants would become felons and could be prohibited

from obtaining some types of jobs or lose certain rights; and (e) any mention of defendants’

families.

       The potential penalties faced by defendants are irrelevant to the jury’s determination of

guilt or innocence. See Shannon v. United States, 512 U.S. 573, 579 (1994) (“[A] jury has no

sentencing function, it should be admonished to ‘reach its verdict without regard to what sentence

might be imposed.’” (quoting United States v. Rogers, 422 U.S. 35, 40 (1975))). “[P]roviding

jurors sentencing information invites them to ponder matters that are not within their province,

distracts them from their factfinding responsibilities, and creates a strong possibility of confusion.”

Id. at 579. Accordingly, the D.C. Circuit has held that “the jury is not to consider the potential

punishment which could result from a conviction.” United States v. Broxton, 926 F.2d 1180, 1183

(D.C. Cir. 1991); see, e.g., United States v. Greer, 620 F.2d 1383, 1384 (10th Cir. 1980) (“The

authorities are unequivocal in holding that presenting information to the jury about possible

sentencing is prejudicial.”). Any discussion of possible penalties would serve no purpose beside



                                                  28
        Case 1:21-cr-00392-RCL Document 292 Filed 08/04/23 Page 29 of 29




improperly inviting the jury to render a verdict based on sympathy for the defendants—that is, to

engage in jury nullification. See United States v. Bell, 506 F.2d 207, 226 (D.C. Cir. 1974)

(“[E]vidence which has the effect of inspiring sympathy for the defendant or for the victim . . . is

prejudicial and inadmissible when otherwise irrelevant.”) (quoting 1 Wharton’s Criminal Evidence

164 at 304 (13th ed. 1972)); United States v. White, 225 F. Supp. 514, 519 (D.D.C 1963) (“The

proffered testimony (which was clearly designed solely to arouse sympathy for defendant) was

thus properly excluded.”).

                                         CONCLUSION

        For the foregoing reasons, the United States respectfully requests that the Court grant the

requested relief or, if the Court reserves ruling, to consider the above arguments when the relevant

issues arise during trial.

Date: August 4, 2023

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              D.C. Bar No. 481052

                                      By:      /s/ Anthony W. Mariano
                                              ANTHONY W. MARIANO, MA Bar No. 688559
                                              JASON M. MANNING, NY Bar No. 4578068
                                              Trial Attorneys, Detailees
                                              Capitol Siege Section
                                              United States Attorney’s Office
                                              for the District of Columbia
                                              601 D Street N.W.
                                              Washington, D.C. 20530
                                              (202) 476-0319
                                              Anthony.Mariano2@usdoj.gov
                                              (202) 514-6256
                                              Jason.Manning@usdoj.gov

                                                29
